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                   Exhibit 2
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August 30, 2024

 Frank Hedin
 Hedin LLP
 fhedin@hedinllp.com



Re: 800-Flowers, Inc. Settlement

Dear Frank,

Thank you for the opportunity to present our proposal in the above referenced matter. Kroll has
the requisite experience and technological resources to administer this settlement.

For purposes of this proposal, we applied the following key assumptions:

    •   Total class size is approximately 112,000.
    •   Kroll will complete the required CAFA notification.
    •   We have assumed all class members will receive an email notice.
    •   We will print and mail a single-postcard notice to class members whose email cannot be
        delivered successfully.
    •   We have assumed 8% of the mailed notices will be returned as undeliverable. Skip traces
        will be performed as appropriate.
    •   We will securely intake class member data and create a dedicated settlement database
        to house all class member records and communications.
    •   We will create and maintain a customized settlement website that contains case
        information and key documents.
            o We will provide a code with the notice which will be used by recipients to gain
                access to the website. Also, we will not promote the website in search engine
                results.
            o Website visitors will be able to change their address or elect to receive a check or
                electronic payment.
    •   We have assumed class members who received a notice via postal mail will receive a
        check, as well as those who elected to receive a check on the website.
    •   We will issue electronic payments to class members who elected to do so on the website.
        We will send a Zelle payment to remaining class members whose email addresses are
        screened as valid for such payment. For class members whose Zelle or other e-payment
        cannot be delivered, we will email an e-Mastercard.



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   •    For an additional cost, we can provide the following optional service:
            o We can provide IVR toll-free telephone support for class member inquiries.

Unlike other administrators, Kroll staffs each engagement with a cohesive multi-person team.
This approach ensures seamless coverage of client needs, regardless of normal-course staff
absences.

In the event of urgent unexpected needs, Kroll’s teams assign a staff member to monitor the
engagement after-hours, as well as on weekends and holidays. This facilitates the prompt
handling of any unanticipated issues, and it guards against any potential lapses in service.

Given that general scope, we anticipate the costs of administration will be an estimated
$81,091.87. Assuming no change in the assumptions shown in this estimate, we will cap our
administration costs at $89,400. The Not-to-Exceed Amount assumes no more than 112,000
class members, no more than 5,914 notices mailed (inclusive of remails) and no more than 5,600
checks mailed. Postage rates will increase bi-annually (January & July) and may cause the Not-
to-Exceed amount to increase as this is a pass-through expense. We can help manage the cost
through careful planning.

Kroll provides world-class information technology, cybersecurity, and global notification and
administration capabilities for complex legal settlements, including antitrust, consumer, data
breach, and mass tort matters. We can also offer our clients auditing services, special master
services, and appeal master services.

We welcome the opportunity to walk through our proposal with you, and we are happy to set up
a call for further discussions. We look forward to speaking with you soon.

Best,



 Rob DeWitte
 Managing Director
 T: +1 773 802 3113
 robert.dewitte@kroll.com




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KROLL SETTLEMENT ADMINISTRATION


800-Flowers, Inc. Settlement                                                                                                              August 30, 2024
Zelle Screening; eMastercard to Remainder
Proposal Submitted To:                                                                     Proposal Submitted By:
           Frank Hedin                                                                                         Robert DeWitte
           Hedin LLP                                                                                           robert.dewitte@kroll.com        773.802.3113


Pricing Summary:
           TOTAL ESTIMATED FEES & EXPENSES                                                  $ 81,091.87


           Plus Estimated Buffer                                                            $ 89,400.00

           Not-to-Exceed Amount is contingent upon no change in the scope of work provided and is based on the counts and assumptions as stated.
           If the class size changes or more claims are received, the Not-to-Exceed Amount is subject to change.



Additional Services:
           Automated Telephone Support (IVR)                                                $    3,800.00


Assumptions Summary:
           Class Size
           Estimated Class Size:                                                                   112,000
           Estimated # of Class Members with Email Address:                                        112,000          100%

           Project Set-Up
           Project Duration:                                                                                9 months

           Notification
           CAFA Notice:                                                                                  Yes

           Email Notice:                                                                                 Yes
           Estimated # of Notices sent via Email:                                                  112,000
           Estimated % of Email Bouncebacks:                                                             5%
           Mail Sent to Email Bouncebacks:                                                               Yes

           Mailed Notice:                                                                                Yes
           Estimated # of Notices sent via Mail:                                                      5,600
           Standard postcard notice (single)
           Business Reply Mail Included on Return Card / Envelope:                                        No

           Returned Mail:
           Estimated % of Undeliverable Mail:                                                            8%
           Address Searches on Returned Mail:                                                            Yes
           Estimated % of New Addresses:                                                                70%

           Translations Required:                                                                         No

           Website
           Case Website:                                                                                 Yes
           Type of Website:                                                                        Dynamic

           Contact Center
           Call Center:                                                                                  Yes (Additional)
           Type of Call Center:                                                                 Automated
           Estimated % of Class Members to Call Automated Support:                                       5%

           Forms Processing
           Opt-Out / Objection Processing:                                                               Yes
           Estimated # of Opt-Outs Received:                                                              10

           Forms Processing (Claim Form / Opt-In):                                                        No

           Distribution Services
           Disbursements:                                                                                Yes
           Estimated % of Claimants Electing Check Payment:                                              5%
           Estimated % of Claimants Electing Electronic Payment:                                        95%




                                                                                                                                                              PRIVILEGED AND CONFIDENTIAL (PAGE 1 OF 4)
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 KROLL SETTLEMENT ADMINISTRATION


 800-Flowers, Inc. Settlement                                                                                                                       August 30, 2024
 Zelle Screening; eMastercard to Remainder

 Project Setup                                                                             %       Volume                   Rate ($)            Total
        Class List Development / Setup
        Develop Class List and Import                                                                    1 One-Time

1 Notification / Correspondence                                                            %       Volume                   Rate ($)            Total
        CAFA Notice
        Prepare CAFA Notice to California & Federal AG                                                   1 Per Mailing

        Notice Documents
        Set Up, Format and Proof the Notice & Claim Form                                                 6 Hours

        Email Notification
        Generate Email Address List                                                                      1 One-Time
        Email List Cleanse and Hygiene                                                                   1 One-Time
        Prepare & Release Email Campaign 1                                                         112,000 Per Email

        Printing and Mailing Notice
        Submit File for NCOA                                                                             1 One-Time
        Print/Address Notice Packet (standard postcard (single))                                     5,600 Per Notice

        Processing Undeliverable Notices
        Process Returned Notices                                                          8%          448 Per Notice
        Advanced Address Search                                                                       448 Per Trace
        Re-Mail Notices                                                                   70%         314 Per Notice

        Notice Requests & Correspondence
        Receive and Respond to Requests for Notice                                                      6    Per Notice
        Form Letter Correspondence                                                                      9    Per Letter
        Email Correspondence                                                                           28    Per Email
        Processing Change of Address Requests                                                           1    Per Request

2 Website                                                                                          Volume                   Rate ($)            Total
        Creation & Maintenance of Case Website
        Set-Up Fee for Dedicated Website - Online Filing Capability                                      1 One-Time
        Monthly Hosting                                                                                  9 Per Month
        Modifications to Post-Production Website                                                         5 Hours


 Forms Processing                                                                          %       Volume                   Rate ($)            Total
        Opt-Out / Objection Forms                                                                      10 Units
        Review & Process Opt-Out Forms Received                                                          1 Hours

3 Distribution Services                                                                    %       Volume                   Rate ($)            Total
        Disbursements
        Estimated Number of Approved Claims / Payments                                    100%     112,000
        Generate Distribution List                                                                       1   One-Time
        Processing & Printing Distribution Checks (invalid email; election process)        5%        5,600   Per Check
        Processing & Issuing Electronic Payments                                          95%      106,400   Payments
                    Processing & Issuing Electronic Payments (from election process)       5%        5,320   Per Payment

                      Processing & Issuing Electronic Payments - Zelle (from screening)   30%       31,920   Per Payment
                      Processing & Issuing Electronic Payments - eMastercards             65%       69,160   Per Payment
        Process Checks Returned as Undeliverable                                                       224   Per Check
        Skip-Tracing Return Checks                                                                     224   Per Check
        All Work on Re-Issuance of Checks                                                               15   Hours
        Print & Mail Re-Issues - Checks                                                                213   Per Check




                                                                                                                                       PRIVILEGED AND CONFIDENTIAL (PAGE 2 OF 4)
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    Tax Reporting                                                                                                      %            Volume                             Rate ($)                Total
             Tax Reporting
             Recording and Reconciling Settlement Fund Activity                                                                            15 Hours
             Preparation of Settlement Fund Tax Return                                                                                      1 Per Annum


    Mail Handling, Scanning & Data/Image Storage                                                                                    Volume                             Rate ($)                Total
             Mail Handling & Scanning
             Scanning Set-Up Charges                                                                                                        1    One-Time
             Scanning / Images of Documents                                                                                               681    Per Scan
             Mail Handling Charges                                                                                                        681    Per Piece
             PO Box Fee                                                                                                                     9    Per Month

             Data / Image Storage
             Data / Image Storage - Including Electronic Claims Received                                                                     9 Per Month
             Technology Charge                                                                                                               9 Per Month


    Fees                                                                                                                            Volume                             Rate ($)                Total
             Staff Hours
             Executive Management                                                                                                           5    Hours
             Senior Director                                                                                                                5    Hours
             Project Management - Blended Rates                                                                                            45    Hours
             Staff - Blended Rates                                                                                                         75    Hours
             Clerical or Data Entry - Blended Rates                                                                                        25    Hours
             Technical Consulting - Blended Rates                                                                                          20    Hours

4 Out-of-Pocket Costs & Expenses                                                                                                    Volume                             Rate ($)                Total
             Out-of-Pocket Costs
             Cost Estimates                                                                                                              TBD At Cost                                            TBD

             Expenses
             Postage - CAFA                                                                                                                2     Per Piece
             Postage - Notice (Postcard)                                                                                               5,914     Per Piece
             Postage - Letters                                                                                                             6     Per Piece
             Postage - Distribution (Letter)                                                                                           5,813     Per Piece



    TOTAL ESTIMATED FEES & EXPENSES                                                                                                                                                  $                    81,091.87


5 NOT-TO-EXCEED AMOUNT                                                                                                                                                               $                    89,400.00

    ADDITIONAL SERVICES                                                                                                             Volume                             Rate ($)                Total
             Call Center                                                                                           5%                  5,600
             Automated Telephone Support (IVR)                                                                                             2 Minutes per Call
                        IVR Design & Setup                                                                                                 1 One-Time
                        IVR Operating System (per minute)                                                                             11,200 Per Minute

                                                                                                                                                                         Sub-Total: Call Center $           3,800.00


1 Due to a global paper shortage, pricing subject to change based on paper pricing and availability at the time of engagement.
2
    Standard website build includes general case information, FAQs, Key Dates and Documents, Contact Info and Online Claim filing, if applicable. Customization and enhanced functionality
    available for additional cost.
3 Rates apply to domestic payments and do not include escheatment costs. Payments to international claimants / class members may incur higher charges. For subsequent distributions, print and
    postage are subject to change. Pricing for electronic payment options assume Kroll's standard suite of services.
4
    Postage costs are an estimate; actual costs will be based on postage rates in effect at the time of mailing and will be a direct pass through. Please note the USPS has indicated bi-annual postal
    rate adjustments (January & July).
5 Not-to-Exceed Amount is contingent upon no change in the scope of work provided, assumes no more than 112,000 class members, no more than 5,914 notices mailed (inclusive of remails)
    and no more than 5,600 checks mailed. Postage rates will increase bi-annually (January & July) and may cause the Not-to-Exceed amount to increase as this is a pass through expense.




                                                                                                                                                                                     PRIVILEGED AND CONFIDENTIAL (PAGE 3 OF 4)
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All services to be provided to the undersigned (the “Client”) and all fees and costs set forth in the Proposal are subject to the terms, specifications,
assumptions and conditions set forth in the Proposal and the attached Terms and Conditions (the “Terms of Service”). The estimated fees and charges
in the Proposal are based on certain information provided to Kroll Settlement Administration LLC as well as significant assumptions. Accordingly, this
estimate is not intended to limit Kroll Settlement Administration LLC's actual fees and charges, which may be less or more than estimated due to the
scope of actual services or changes to the underlying facts or assumptions.



Kroll Settlement Administration LLC


By:                                                                                                        Date:
         Print Name:


Title:



Client


By:                                                                                                        Date:
         Print Name:


Title:




                                                                                                                                                PRIVILEGED AND CONFIDENTIAL (PAGE 4 OF 4)
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                                                           TERMS AND CONDITIONS

All services to be provided by Kroll Settlement Administration LLC        3. FURTHER ASSURANCES. Client agrees that it will use its best
(together with its affiliates, “Kroll”), including services provided to   efforts to include provisions reasonably acceptable to Kroll in any
Client as set forth in the attached Proposal, are subject to the          relevant court order, settlement agreement or similar document that
following Terms and Conditions:                                           provide for the payment of Kroll’s fees and expenses hereunder.
                                                                          Where reasonably practicable, Client will afford Kroll the
1. SERVICES. Kroll agrees to provide the services set forth in the        opportunity to review such documents prior to execution or filing
attached Proposal (the “Services”). Capitalized terms used herein         with the court. Notwithstanding any such review, no agreement to
and not otherwise defined have the meanings assigned to such              which Kroll is not a party shall reduce or limit the full and prompt
terms in the Proposal. Kroll will often take direction from Client’s      payment of Kroll’s fees and expenses as set forth herein and in the
representatives, employees, agents and/or professionals                   Proposal.
(collectively, the “Client Parties”) with respect to the Services. The
parties agree that Kroll may rely upon, and Client agrees to be           4. RIGHTS OF OWNERSHIP. The parties understand that the
bound by, any requests, advice or information provided by the             software programs and other materials furnished by Kroll to Client
Client Parties to the same extent as if such requests, advice or          and/or developed during the course of the performance of Services
information were provided by Client. Client agrees and                    are the sole property of Kroll. The term “program” shall include,
understands that Kroll shall not provide Client or any other party        without limitation, data processing programs, specifications,
with any legal advice.                                                    applications, routines, and documentation. Client agrees not to
                                                                          copy or permit others to copy the source code from the support
2. RATES, EXPENSES AND PAYMENT. Kroll agrees to charge                    software or any other programs or materials furnished to Client.
Client, and Client agrees to pay Kroll, subject to the terms herein,      Fees and expenses paid by Client do not vest in Client any rights in
fees and expenses as set forth in the Proposal. Client                    such property, it being understood that such property is only being
acknowledges that any estimate in the Proposal is based upon              made available for Client’s use during and in connection with the
information provided by Client to Kroll and actual fees and               Services provided by Kroll.
expenses may vary depending on the actual circumstances and
length of the case. Notwithstanding the foregoing, where total            5. CONFIDENTIALITY. Each of Kroll and Client, on behalf of
expenses are expected to exceed $10,000 in any single month               themselves and their respective employees, agents, professionals
(e.g., publication notice), Kroll may require advance payment from        and representatives, agrees to keep confidential all non-public
Client, which shall be due and payable upon demand and prior to           records, systems, procedures, software and other information
the performance of Services. Kroll reserves the right to reasonably       received from the other party in connection with the Services;
increase its prices, charges and rates annually. If any price             provided, however, that if either party reasonably believes that it is
increases exceed 10%, Kroll will provide Client thirty (30) days          required to produce any such information by order of any
written notice. Client agrees to pay the reasonable out of pocket         governmental agency or other regulatory body it may, upon not less
expenses incurred by Kroll in connection with Services. Kroll             than five (5) business days’ written notice to the other party (to the
agrees to submit its invoices to Client and Client agrees that the        extent legally permissible), release the required information. These
amount invoiced is due and payable upon receipt. The Client shall         provisions shall survive termination of Services.
pay or reimburse any taxes that are applicable to the Services or
that are measured by payments made hereunder and which are                6. BANK ACCOUNTS. At Client’s request, Kroll shall be
required to be collected by Kroll or paid by Kroll to a taxing            authorized to establish accounts with financial institutions as agent
authority, other than taxes based on Kroll’s income.                      for Client or as otherwise agreed by the parties. In some cases,
                                                                          Kroll may derive financial benefits from financial institutions in
All amounts shall remain due and payable to Kroll without regard          connection with the deposit and/or investment of settlement funds
for the disposition of Client’s case (e.g. whether by verdict,            with such institutions, including, without limitation, discounts on
dismissal, settlement or otherwise). If any amount is unpaid as of        certain banking services/fees and compensation for services Kroll
thirty (30) days from the receipt of the invoice, the Client further      performs for financial institutions to be eligible for FDIC deposit
agrees to pay a late charge (the “Finance Charge”), calculated as         insurance and in connection with the disbursement of funds in
1.5% of the total amount unpaid every thirty (30) days. In the case       foreign currencies. All charges imposed by the financial institution
of a dispute in the invoice amount, Client shall give written notice      in connection with the administration of the account shall be
to Kroll within fourteen (14) days of receipt of the invoice by Client.   payable from the account.
At the conclusion of Kroll’s performance of all Services hereunder,       7. TERMINATION. The Services may be terminated by either
Kroll shall be entitled to compensation for all amounts reasonably        party (i) upon thirty (30) days’ written notice to the other party or (ii)
incurred in connection with the closing of accounts and related           immediately upon written notice for Cause (defined herein). As
distributions, including any costs associated with the escheatment        used herein, the term “Cause” means (i) gross negligence or willful
process (if applicable).                                                  misconduct of Kroll that causes serious and material harm to
                                                                          Client’s settlement, (ii) the failure of Client to pay Kroll invoices for
Client hereby authorizes Kroll to stop payment of checks issued in        more than sixty (60) days from the date of invoice, or (iii) the accrual
payment of settlement proceeds, if applicable, but not presented          of invoices or unpaid services where Kroll reasonably believes it will
for payment, when the payees thereof allege either that they have         not be paid. Termination of Services shall not relieve Client of its
not received the checks or that such checks have been mislaid,            obligations to pay all fees and expenses incurred prior to such
lost, stolen, destroyed or, through no fault of theirs, are otherwise     termination.
beyond their control and cannot be produced by them for
presentation and collection, and Kroll shall issue and deliver            In the event that the Services are terminated, regardless of the
duplicate checks in replacement thereof. Client shall indemnify           reason for such termination, Kroll shall reasonably coordinate with
Kroll against any loss or damage resulting from reissuance of the         Client to maintain an orderly transfer of data, programs, storage
checks. Further, in the event payees present their checks for             media or other materials furnished by Client to Kroll or received by
payment through electronic or mobile deposit and subsequently             Kroll in connection with the Services. Client agrees to pay for such
present their checks for payment, at which point they are                 transfer services in accordance with Kroll’s then existing prices for
dishonored, Client shall indemnify Kroll against any loss or              such services.
damage resulting from the double presentment, including any
holder in due course claims.                                              8. LIMITATIONS OF LIABILITY AND INDEMNIFICATION.
                                                                          Client shall indemnify and hold Kroll, its affiliates, members,
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directors, officers, employees, consultants, subcontractors and           performance shall be excused and shall be deemed suspended
agents (collectively, the “Indemnified Parties”) harmless, to the         during the continuation of such prevention and for a reasonable
fullest extent permitted by applicable law, from and against any          time thereafter.
and all losses, claims, damages, judgments, liabilities and
expenses (including reasonable counsel fees and expenses)                 10. INDEPENDENT CONTRACTORS. Kroll is and shall be an
(collectively, “Losses”) resulting from, arising out of or related to     independent contractor of Client and no agency, partnership, joint
Kroll’s performance of Services. Such indemnification shall               venture or employment relationship shall arise, directly or
exclude Losses resulting from Kroll’s gross negligence or willful         indirectly, as a result of the Services or these Terms and
misconduct. Without limiting the generality of the foregoing,             Conditions.
Losses include any liabilities resulting from claims by any third         11. APPLICABLE LAW. These Terms and Conditions will be
parties against any Indemnified Party. The parties shall notify           governed by and construed in accordance with the laws of the
each other promptly in writing upon the assertion, threat or              State of Delaware, without giving effect to any choice of law
commencement of any claim, action, investigation or proceeding            principles.
that either becomes aware of with respect to Services provided
by Kroll.                                                                 12. NOTICES. All notices and requests hereunder shall be given
                                                                          or made upon the respective parties in writing and shall be deemed
Except as provided herein, Kroll’s liability to Client or any person      as given as of the third day following the day it is deposited in the
making a claim through or under Client or in connection with              U.S. Mail, postage pre-paid, or on the day it is given if sent by email
Services for any Losses of any kind, even if Kroll has been               or facsimile, or on the day after the day it is sent if sent by overnight
advised of the possibility of such Losses, whether direct or indirect     courier to the appropriate address set forth in the Proposal or to
and unless due to gross negligence or willful misconduct of Kroll,        such other address as the party to receive the notice or request so
shall be limited to the total amount billed or billable for the portion   designates by written notice to the other.
of the particular work which gave rise to the alleged Loss. In no
event shall Kroll’s liability for any Losses, whether direct or           13. ENTIRE AGREEMENT; MODIFICATIONS; SEVERABILITY;
indirect, arising out of the Services exceed the total amount billed      BINDING EFFECT. These Terms and Conditions, together with
to Client and actually paid to Kroll for the Services. In no event        the Proposal delivered pursuant hereto, constitutes the entire
shall Kroll be liable for any indirect, special or consequential          agreement and understanding of the parties in respect of the
damages such as loss of anticipated profits or other economic             subject matter hereof and supersede all prior understandings,
loss in connection with or arising out of the Services. Except as         agreements or representations by or among the parties, written or
expressly set forth herein, Kroll makes no representations or             oral, to the extent they relate in any way to the subject matter
warranties, express or implied, including, but not limited to, any        hereof. If any provision herein shall be held to be invalid, illegal or
implied or express warranty of merchantability, fitness or                unenforceable, the validity, legality and enforceability of the
adequacy for a particular purpose or use, quality, productiveness         remaining provisions shall in no way be affected or impaired
or capacity. The provisions of this Section 8 shall survive               thereby. These Terms and Conditions may be modified only by a
termination of Services.                                                  writing duly executed by the parties. All of the terms, agreements,
                                                                          covenants, representations, warranties and conditions of these
9. FORCE MAJEURE. Whenever performance hereunder is                       Terms and Conditions are binding upon, inure to the benefit of, and
materially prevented or impacted by reason of any act of God,             are enforceable by, the parties and their respective successors
strike, lock-out or other industrial or transportation disturbance,       and permitted assigns.
fire, lack of materials, law, regulation or ordinance, war or war
condition, epidemic, pandemic, or by reason of any other matter
beyond the performing party’s reasonable control, then such
